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10                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                      OAKLAND DIVISION
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14   TIFFANY RUFFA, KATHRYN CANFIELD,                Case No. 4:21-cv-05549-DMR
     and ISIDORE NIYONGABO, on behalf of
15   themselves and all others similarly situated,   [PROPOSED] ORDER ON STIPULATION
                                                     TO EXTEND TIME TO COMPLETE
16                  Plaintiffs,                      MEDIATION PROCESS PURSUANT TO
                                                     GENERAL ORDER 56
17   v.
                                                     Complaint Filed: July 20, 2021
18   SOCIETY FOR HUMAN RESOURCE
     MANAGEMENT,                                     Current Response Date: May 27, 2022
19
                    Defendant.                       New Response Date: June 17, 2022
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     [Proposed] Order to Extend Time                                   Case No. 4:21-cv-05549-DMR
       Case 4:21-cv-05549-DMR Document 24 Filed 05/13/22 Page 2 of 2



 1           The Court, having reviewed the Parties’ Joint Status Report on Mediation and Stipulation
 2   to Extend Time to Complete Mediation Process (Dkt. 23), and finding good cause, orders as
 3   follows:
 4           (1)      The Parties’ time for the completion of the mediation process pursuant to General
 5   Order 56 shall be extended from May 20, 2022 through and including June 10, 2022
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 7                                          IT IS SO ORDERED.




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 9                 5/13/2022                                            IT IS SO




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                       Date                                                 Hon. Donna M. Ryu
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     [Proposed] Order on Joint Status Report and Stipulation                        Case No. 4:21-cv-05549-DMR
